Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 1 of 8 PagelD# 1

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
UNITED STATES DISTRICT COURT

for the
District of
Division
2 ) Case No. J ‘ 16 CV 3 Y
to be filled in hy the Clerk's O
4 0haé t KoberF Benboty) (to be filled in by the Clerk's Office)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. so
Ef the names of all the plaintiffs cannot fit in the Space above, ) Jury Trial: (check one) LJ Yes [Jno
please write “see attached” in the space and attach an additional )
Page with the full list of names.) )
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)
)
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B tebhmorid C rfy Sars )
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

Page 1 of 6
Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 2 of 8 PagelD# 2

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
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I, The Parties te This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

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needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

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Rithmerd “VA 23225

City State Zip Code

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No, 2
Name
Job or Title (if own)
Address

County
Telephone Number
E-Mail Address (if known)

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City State Zip Code

[J Individual capacity CJ Official capacity

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City State Zip Code

[__] Individual capacity [_] Official capacity

Page 2 of 6
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
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Defendant No. 3

I.

Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 3 of 8 PagelD# 3

Name

Job or Title (ifknown)

Address

City
County

State Zip Code

Telephone Number

E-Mail Address (if known)

[| Individual capacity

Defendant No. 4

Name

[| Official capacity

Job or Title (ifknown)

Address

City
County

State Zip Code

Telephone Number

E-Mail Address (if known)

[] Individual capacity

Basis for Jurisdiction

[_] Official capacity

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]. Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A.

Are you bringing suit against (check all that apply):
C7] Federal officials (a Bivens claim)
[17 State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws}.” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

tr Vile Ges Human Rigkfs 2 fC.

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional tights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 6
Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 4 of 8 PagelD# 4

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Teter Atatp

II. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

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B. What date and approximate time did the events giving rise to your claim(s) occur?

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C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

Refer +0 Paper Attac er,

Page 4 of 6
Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 5 of 8 PagelD# 5

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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Medica because My blood Pressule went uP 2 rest?
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Vv. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Bho tO SOK.

Page 5 of 6
Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 6 of 8 PagelD# 6

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: YEL22E3

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i 7 4 —_— 3
Signature of Plaintiff Ad rhea 4 lecatif Bea hpi scan
Printed Name of Plaintiff Miebope/ Reb CO F BN Dee)

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

Page 6 of 6
Case 3:23-cv-00034-HEH-MRC Document1 Filed 01/11/23 Page 7 of 8 PagelD# 7

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